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Fill m this information m identify your case
R § C § l `s’ § D

H "'.`, n § l ..
Frst Nlmo M\ddle Nsns Laal Name ))\ 5 "= 1 ~ 7 w [ g

Debior 1 Frank Kattan

Debtor 2

ispouse,n..ng) …. Mi.,.,..~.". 2817 DEB lLi Hl"l ll 50

United States Bankruptcy Court for the: District of Nevada

casemmber 17-‘ 150 s/§/? -/ 195 id

(lf known)

 

 

" § ;'}£;G%;ieck if this is an

rf '§ 5 .J -._ _ Rétnended filing

MAG
Official Form 1068um

Summary of Your Assets and Liabilities and Certain Statlstical lnformation 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
intormatlon. Flll out all of your schedules first; then complete the information on this form. lt you are filing amended schedules after you file
your original forms, you must till out a new Summary and check the box at the top of this page.

m Summarlzo Your Assets

 

 

 

Your assets
Value of what you own
1, Schedule A/B: Property (Offlcial Form 106A/B)

 

 

 

 

 

1a. Copy line 55, Total real estate. from Schedule A/B .......................................................................................................... $ ____-992
1b. Copy line 62. Total personal property, from Schedule A/B ............................................................................................... $ 1 ,510.00
ic. Copy line 63. Total ot all property on Schedule A/B ......................................................................................................... $ 1’5@_00
mummarlzo Your Llabllltlos
Your liabilities

Amount you owe
2. Schedule D: Creditors Who Have CIaims Secured by Property (Oflicial Form 1060) 0 00
2a. Copy the total you listed ln Column A, Amount of claim, at the bottom of the last page of Part 1 ot Schedule D ............ 5 ______;_

3. Schedule E/F: Crieditors Who Have Unsecured CIaims (Offioial Form 106E/F) 0 00
3a Copy the total claims from Part 1 (priorlty unsecured claims) from line 6e ot Schedule E/F ............................................ $ _____`-_

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j ot Schedule E/F .......................................

+$M

 

 

 

 

 

Your total liabilities s 10-000~00
Summorlzo Your lncom¢ and Expons¢s
4_ Schedule I: Vour Inoome (Oft"lcial Form 106|) 2 600 00
Copy your combined monthly income from line 12 of Schedule I .......................................................................................... 5 ___'-_`_~
5 Schedule J.' Vour Expenses (Ofiicia| Form 106J)
Copy your monthly expenses lrorn line 22c ot Schedule J .................................................................................................... $ ___M

Oft"icial Form 1OGSum Summary of Your Assets and Llabi|itles and Certaln Statistical information page 1 012

 

 

 

CaS€ 17-16448-ab| DOC 16 Entet’ed 12/14/17 12

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Dethr 1 Frank Kattan Case number iiikm~,,) 17"

First Name M`dde Naml \_ast Name

m Answ¢r Th¢se Quostlons for Admlnlstrat|vo and $tl¢lstlca| Rocords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

 

n No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

m Yes

7. What kind of debt do you have?

m Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal.
family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes 28 U.S.C. § 159.

n Your debts are not primarily consumer debts You have nothing to report on this part of th
this form to the court with your other schedules

a. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Oft'icial

Form 122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 1220-1 Line 14.

9. Copy the following speclal categories of claims from Part 4, line 6 of Schedule E/F:

e form. Check this box and submit

 

 

 

$ 2,600.00

 

 

 

Total claim
From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line Ga.) $ O'OO
9b. Taxes and certain other debts you owe the government (Copy line 6b.) $ O'OO
90. Claims for death or personal injury while you were intoxicated. (Copy line 60.) $____0`00
9d. Student loans. (Copy line 6f.) $______Q~O_O_
9e. Obligations arising out_of a separation agreement or divorce that you did not report as s O_()()

priority claims (Copy line 69.) __‘___
9t. Debts to pension or profit-sharing plans. and other similar debts. (Copy line 6h.) + s 0.00
9g. Total. Add lines 9a through 9f. 5 0.00

 

 

 

Ofticial Form 1065um Summary of Your Assets and Liabilitles and Certaln Statlstlcai lnfonnation

page 2 of2

 

 

 

 

 

 

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Fill ii` this information to identify your case and this lliing:

Debtor 1 Frank

Flrst Nlme Middie Neme

 

Debtor 2
(Spouse. ii tillng) Firsi Nam¢ Midal¢ Nam¢

 

United States Bankruptcy Court tor the: Cii$tl'i¢t Of NeVada

Case number 17"‘

m Check if this is an
amended filing

 

 

Ofticial Form 106A/B
Schedule AlB: Property 12/15

ln each category, separately list and describe items. L|st an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possib|e. lf two married people are filing together, both are equally
responsible for supplying correct lnfonnat|on. if more space ls needed, attach a separate sheet to this forrn. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

Describe Each Rosldonce, Bulldlng, Land, or other Real Estate Vou own or Have an lnterest ln

1. Do you own or have any legal or equitable interest in any residence, buildingl land, or similar property?

m No. Go to Part 2.
0 Yes. Where is the propelty'?
what ls the property-l Check a" that apply' Do not deduct secured claims or exemptions Put

0 Sing|e-tami|y home the amount ot any secured claims on Schedule D:

1.1. n Dup|ex or mun.l'unn building Credltors Who Have Claims Secured by Property.

 

Street address. it available, or other description

n C°"d°ml"l'-‘m °' C°°Pe'at"e Current value of the Current value of the

 

 

 

 

 

 

n Manufaclured or mobile home ~- entire property? _ portion you own'l
n Land $ $
n investment property
_ [] Timesha,e Describe the nature of your ownership
C'W slate Z'P C°de n O‘h r interest (such as fee slmp|e, tenancy by
e the entiretiesl or a life estate), if known.

Who has an interest in the property? check one.
n Debtor 1 only

County n Debtor 2 only

n Debt°, 1 and Debm, 2 only cl Check if this is community property
n At least one of the debtors and another (See mstrucbons)

Other information you wish to add about this item, such as local
property identification number:

 

lf you own or have more than one. list here:

what is the property-l Check all that app'y' Do not deduct secured claims or exemptions Put

 

 

 

 

 

 

 

 

n Single-family home the amount of any secured clairrs on Scheduie D:
1'2' . . _ , a Dup|ex or multi-unit building Cred'tors WhoHave C'a'ms Secu'ed by Pr°pe"y'
Street address if availab|e. or otheidescnptlon n _ _ _
C°"d°m'"'“m °' C°°pe'a""e Current value of the Current value of the
Cl Manufaciured or mobile home entire property? portion you own?
n Land $ $
n investment property
_ n T. h Describe the nature of your ownership
city state zlP Code 0 'mes are interest (such as fee slmple, tenancy by
Oihe' the entireties, or a life estate)l lt known.
Who has an interest in the property? Check one.
n Debtori only
C°umy n Debtor 2 only
n D€bw' 1 and Debl°' 2 O"|¥ m Check if this ls community property
n At least one of the debtors and another (See insifUCilOnS)

Other information you wish to add about this item, such as local
property identification number:

 

Ofiicial Form 106A/B Schedule NB: Property page 1

 

 

Case 17-16448-ab|
Frank

Flst Name

Debtor 1
Middie Namo

1.3.

Last Name

 

Street address. if available. or other description

 

 

City State

Z|P Code

 

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $
you have attached for Part 1. Write that number here. ...................................................................................... ')

Describe Your Vehicles

Kattan

What is the property? Check ali that apply
a Single-family home

a Duplex or multi-unit building

a Condominium or cooperative

n Manufactured or mobile home

a Land

a investment property

a Timeshare

l;l other

 

Who has an interest in the property? check one,
a Debtor 1 only

n Debtor 2 only

a Debtor 1 and Debtor 2 only

a At least one of the debtors and another

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Case number (rinowni

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Scheduie D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simplel tenancy by
the entireties, or a life estate), lf known.

 

n Check if this is community property
(see lnstructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

0.00

 

 

 

Do you own, |ease, or have legal or equitable interest in any ve hic|es, whether they are registered or not? include any vehicles
you own that someone else drives. lf you lease a vehicle. also report lt on Schedule G.' Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles. motorcycles

m No
n Yes

3_1. Make:
Model:
Year'.
Approximate mileage'.

Other information:

if you own or have more than one, describe here:

3.24 Ma ke:
Mode|;
Year:
Approximate mileage:

Other information'.

Ofi`lcial Form 106A/B

Who has an interest in the property? check one.
a Debtor 1 only

m Deblor 2 only

a Debtor1 and Debtor 2 only

a At least one ofthe debtors and another

Cl Check if this is community property (see
instructions)

Who has an interest in the property? check ones
n Debtor1 only

m Debtor 2 only

a Debtor1 and Debtor 2 only

a At least one ofthe debtors and another

l:l Check if this is community property (see
instructions)

Schedule Ale Froperty

Do not deduct secured claims or exemptions Put
the amount of any secured clalns on Schedule D:
Creditors Who Have Claims Secured by Properry,

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Scheduie D:
Creditors Who Have Claims Secured by Fropeny.

Current value of the Current value of the
entire property? portion you own?

page 2

 

 

 

 

 

Case 17-16448-ab|

new 1 F rank
Flrst Neme Mlddle Nlrne

3.3. Make:
Model:
Year:
Approximate mileage'.

Other information:

3,4_ Make:
Model:
Year:
Approximate mileage:

Other information:

Losl Nlme

Kattan Case number iilknawni

Who has an interest in the property? Check one.
n Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

Cl Check if this ls community property (see
instructions)

Who has an interest in the property? Check one.

n Debtor 1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

cl Check lf this is community property (see
instructions)

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00 not deduct secured claims or exemptions Put
the amount of any secured claims on Scheduls D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Credirors Who Have C/alms Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft. motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examp/es.' Boats. trailers, motors. personal watercraft, fishing vessels snowlnobilesl motorcycle accessories

m No
n Yes

4_1` Make'.
Model:
Year:

Other iniormation:

li you own or have more titan one. list here:

Who has an interest |n the property? Check one.
n Debtor 1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one 01 the debtors and another

n Check |f this ls community property (see
instructions)

Who has an interest ln the property? Check one_

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Scheduie D:
Creditors Who Have Claims Secured by Properry.

Current value of the Current value of the
entire property? portion you own?

 

4_2_ Make; Do not deduct secured claims or exemptions Put
the amount ot any secured claims on Scheduie D:
Model: n Debtor 1 only Credirors Who Have Claims Secured by Property.
y r_ n Debtor 2 only
ea ` n Debtor 1 and Debtor 2 only §:t*;fr:n;r\;:;lr€ty°; the ::rrtr;rr\`t ;:\l|u:vt:rf`,t)he
Other '"f°"ma"°"" n At least one of the debtors and another
n Check lf this is community property (see $ $
instructions)
5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages 0_00
you have attached for Part 2. Write that number here .................................................................................................................... -) _____“

Of&cia| Fo rm 106A/B

Schedule A/B: Property

page 3

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Debtor 1 Frank “°““' ’ base number (»rknown)
F'nt Nlme Midd|e Namo Last Namo
Describe Your Personal and Househoid items
. Current value of the
Do you own or have any legal or equitable interest in any of the following ltems? p°n|°n you °wn?
Do not deduct secured claims
or exemptions
6. Househo|d goods and furnishings
Exampies: Ma]or appliances, furniture. linens. china, kitchenware
n No :
m Yes. Describe ......... Househoid Goods $ 1,000.00
7. Eiectronics
Exampies: Te|evisions and radios; audio. video. stereo. and digital equipment computers, printers. scanners; music
oo||ections; electronic devices including cell phones, cameras, media players. games
a No
n Yes. Describe .......... $
8. Co|lectibles of value
Exampies: Antiques and iigurines; paintings. prints. or other artwork; books, pictures. or other art objects;
stamp, ooin. or baseball card collections; other collections. memorabi|ia, ool|ectib|es
a No
n Yes. Describe.......... $
9. Equipment for sports and hobb|es
Exampies: Sports, photographic. exercise, and other hobby equipment; bicycles, pool tables. golf clubs. skis; canoes
and kayaks; carpentry too|s; musical instruments
m No
n Yes. Describe .......... $
104Firearms
Exampies: Pisto|s, n`iies, shotguns, ammunition. and related equipment
m No
El Yes. Describe .......... $
11.Clothes
Exampies: Everyday ciothes, furs. leather coats. designer wear. shoes, accessories
El No
m Yes, Describe Ciothmg $ 500_00
12.Jewe|ry
Examp|es: Everyday ]ewe|ry. costume jewelry, engagement rings, wedding rings. heir|oom jewelry, watches. gems.
go|d, silver
m No
n Yes. Describe ........... $
13.Non-farm animals
Exampies: Dogs. cats. birds, horses
m No
Cl Yes. Describe........... $ »
m Any other personal and household items you did not already |ist, including any health aids you did not list
m No
n Yes. Give specific $
information . .............
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached s 1 §00 00
for Part 3. Write that number here .................................................................................................................................................... -) ' ,
official Form 106A/B schedule A/e: Propeny page 4

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Debtor 1 Frank Kana'n Case number (;/tnuwn)
Fim Name Mtdd|e Name usi Name
m bescrlbe Your Flnanciai Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions
16.Cash
Examples: Money you have in your wailet. in your home, in a safe deposit box, and on hand when you me your petition
m No
l:l Yes ............................................................................................................................................................... Cash: _______________________ $
17. Deposits of money
Examples: Checking. savings or other iinancial accounts; certiiicates of deposit; shares in credit unions, brokerage houses
and other similar institutions if you have multiple accounts with the same institution, list each.
U No
m Yes ..................... institution name:
17_1. checking account One Nevada Federai Credit Un|on 5 20.00
17 2 Checking account $
17.3v Savings account: $
11.4. Savings account: $
17.5 Certit`lcates of deposit $
17.6. Other financial account $
17.7. Other Gnancia| acoount: $
17.8 Other financial account: $
1749 Other financial account $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds investment accounts with brokerage iirms, money market accounts
m No
n Yes ................. institution or issuer name:
$

 

 

 

is Non-public|y traded stock and interests in incorporated and unincorporated businesses including an interest in
an LLC, partnership, and joint venture

 

 

 

m No Name of entity'. % of ownership:
U Yes Give specitic O°/o %
information about
them ....................... . 0% %
0% %
Offrcial Form 106A/B Scheduie AIB: Property page 5

 

 

 

 

 

 

 

 

 

Case 17-16448-ab|

Debtor 1 FranK

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Kattan Case number ()rk,mm_

 

Fl\( NI"\I

Middlo Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negol/'ab/e instruments include personal checks cashiers' checks promissory notes and money orders
Non-negotiab/e instruments are those you cannot transfer to someone by signing or delivering them.

mNo

D Yes Give specilic
information about
them .......................

issuer name:

Page 8 of 47

 

 

 

 

21. Retirement or pension accounts
Examples: interests in lRA. ER|SA. Keogh, 401(k). 403(b), thrift savings accounts or other pension or profit-shaan plans

mNo

El ves. Listeao\
account separateiy.

Type of account institution name:

401(k) or similar plan;

 

Pension plans

 

|RA:

 

Retirement accounts

Keogh:

 

Additional account:

 

Additionai account:

 

22.Securlty deposits and prepayments
Your share ot ali unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords prepaid rent, public utilities (e|ectric. gas water), telecommunications

companies or others

m No
n Yes ..........................

institution name or individua|:

Eiectn'c:

$$$€8$$$

 

Gas:

 

Heating oii;

 

Security deposit on rental unit:

 

prepaid rent:

 

Te|ephone:

 

Wat€l’f

 

Rented iurniture:

 

Other:

 

23.Annuities (A contract for a periodic payment of money to you, either lor lite or for a number ol years)

m No
0 Yes ..........................

thcial Form 106A/B

issuer name and descriptionl

9999€899€899999999

 

 

Schedule AIB: Property

page 6

 

 

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Debtori Frank Kattan Case-n_ur`ribeirt_,rmwn)_ ___A _
Firat Name Vaddll Name Last Name

24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 u.s.c. §§ 530(u)(1), 529A(b), and 529(b)(1).
m No
n Yes ....................................

institution name and description Separately hle the records of any interests.11 U.S.C. § 521(c):

 

 

 

25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

mNo

0 Yes. Give specific
information about them.... $

26. Patents, copyrights trademarks trade secrets and other intellectual property
Examples: intemet domain names websites, proceeds from royalties and licensing agreements

mNo

0 Yes. Give specific
information about them.... $

27. Llcenses franchises and other general intangibles
Examples: Building permits exclusive licenses cooperative association holdings liquor licenses professional licenses

mNo

l;l Yes Give specihc
information about them.... $

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions

28.Tax refunds owed to you

m No
l;l Yes. Give specific information Fede'al_
about them, including whether ‘
you already filed the returns State:
and the tax years .......................
Local:

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance divorce settlement property settlement

mNo

l;l Yes Give specific information ..............

Aiimony: $
Maintenance' $
Suppoit: $
Divorce settlement $
Property settlement $
30. Other amounts someone owes you
Examples: Unpaid wages disability insurance payments disability benefits sick pay, vacation pay, workers' compensation
Social Securin benefits unpaid loans you made to someone else
m No
n Yes. Give speciic information ...............
$

Oiticial Form 106A/B Schedule A/B: Property page 7

 

 

 

 

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center 1 Frank Kattan

Firat Name Middil Name Lasl Nli\e

Case number iirtmwn)

 

 

31. interests in insurance policies
Examples: Health. disability, or life insurance; health savings account (HSA): credit. homeowner's or renter's insurance

mNo

l:l Yes. Name the insurance company

_ _ l Company name: Benefic`iaryt Surrender or refund value:
of each policy and list its value.

 

 

 

32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance poiicy. or are currently entitled to receive
property because someone has died.

mNo

l:l Yes. Give specific information ..............

33. Claims against third parties whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes insurance claims or rights to sue

mNo

l:l Yes Describe each ciaim_ ....................

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

mNo

l:l Yes. Describe each ciaim_ _. ..................

35.Any financial assets you did not already list

mNo

l:l Yes Give specific information ............

 

36. Add the dollar value of ali of your entries from Part 4, including any entries for pages you have attached

 

for Part 4. Write that number here .................................................................................................................................................... 9 $ 20'00

 

 

Describe Any Business-Related Property You Own or Have an interest ln. List any real estate in Part 1.

37.Do you own or have any legal or equitable interest in any business-related property?
m No. Go to Part 6.
Cl ves. oo to line 38.

Current value of the
portion you oim?

Do not deduct secured claims

or exemptions
38.Accounts receivable or commissions you already earned
l:l No
l:l Yes Describe .......
$

39. Office equipment, furnishings and supplies
Examples: Business~reiated computers software, modems, printers copiers tax machines rugs telephones desks chairs electronic devices

n No
El ves. Describe .......

Ofi'icial Form 106A/B Schedule A/B: Property page 8

 

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me~w/~MW,»L»\-

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Debtor 1 Frank Kattan Case number irmwni

Firl Name Middle Name Last Name

40.Machinery, fixtures equipment, supplies you use in business and tools of your trade

n No
n Yes Describe .......

 

 

 

 

 

 

 

 

 

 

$
41.inventory
n No
n Yes. Describe ....... $
42.interests in partnerships or joint ventures
n No
n Yes' Describe """" Name of entity: % of ownership‘.
°/° $
% $
% $
43.Customer lists, mailing llsts, or other compilations
n No
n Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
l:l No
l:l Yes. Describe ........
$
44_Any business-related property you did not already list
n No
n Yes. Give specihc $
information .........
$
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $
for Part 5. Write that number he re .................................................................................................................................................... -)

 

 

 

Describe Any Farm- and Commorciai Fishing-Rolatod Property You Own or I-lavo an interest ln.
if you own or have an interest in farmland, list lt in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
w No. Go to Part 7.
El ves. co to iine 47.

Current value of the

portion you own?

Do not deduct secured claims

or exemptions

47. Farm animals
Examples: Livestock, poultry. farm-raised fish

n No
n Yes ..........................

Oii'icia| Form 106A/B Schedule Ach Property

page 9

 

 

 

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§
§

 

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Deb,o,, Frank Kattan

case number iirtlmn)_
Firxt Nlme Middie Name test Name

 

48. Crops-either growing or harvested

 

 

 

 

 

 

 

 

 

 

n No
n Yes Give specihc
information ............. $
49.Farm and fishing equipment, implements machinery, fixtures and tools of trade
n No
n Yes ..........................
$
50. Farrn and fishing supplies chemicals and feed
n No
n Yes ..........................
$
51 .Any farm- and commercial fishing-related property you did not already list
n No
n Yes. Give specihc
information ............ $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that number here ................................................................................................................................................... 9
mescribe All Property You Own or Have an lnterest in That You Did Not List Above
53, Do you have other property of any kind you did not already iist?
Examples: Season tickets country club membership
m No
n Yes Give specific
information
54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. 9 $
List the Totals of Each Part of this Form
55. Fart 1: Total real estate, line 2 .............................................................................................................................................................. 9 $ 0'00
56. Part 2: Total vehicles, line 5 $ 0'00
57. Part 3: Total personal and household items line 15 $ 11500'00
sa. Part 4: total financial assets line 36 $ 20-00
59. Part 5: Total business-related property, line 45 $ 0~00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0'00
61. Part 7: Total other property not listed, line 54 + $ 0-00
62.Total personal property. Add lines 56 through 61. .................... $J_ 1'520'00 Copy personal property total 9 +$ 1.520-00

$

63.Tota| of all property on Schedule AIB. Add line 55 + line 62 .......................................................................................... 1 -520'00 ll

 

Oft°icial Form 106A/B Schedule AIB: Property page 10

 

 

 

 

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Fill in this information 10 identify your case

Debtor 1 Frank Kattan

Fir\t Name M‘ddls Name Last Name

 

Debtor 2
(Spouse. ii liling) rim Name mach Name

 

United States Bankruptcy Court for the: District of Nevada

 

case number Cl Check if this is an
‘" ""°“'“) amended filing

 

 

Ofticia| Form 106C
Schedule C: The Property You Claim as Exempt wis

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct information

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. lf more
space is needed, fill out and attach to this page as many copies of Part 2.' Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternative|y, you may claim the full fair market value of the property being exempted up to the amount
ot any applicable statutory limit. Some exemptions_such as those for health aidsl rights to receive certain benefits, and tax-exempt
retirement funds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property ls determined to exceed that amount. your exemption
would be limited to the applicable statutory amount.

m ldentify the Property ¥ou Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

M You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
[] You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Briet description of the property and llne on Current value ot the Arnount of the exemption you claim Speciflc laws that allow exemption

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
B"e‘ Household Goods $1 000 00 g
description 1 ~ $
Line from m 100% of fair market value. up to
Schedule A/B: any applicable statutory limit
Brief .
descripuon; gg_tmng______ $ 500.00 n $
Line from m 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
B"e‘ one blevan F<ll s 20 00 n
description - $
Line from E 100% of fair market value, up co
Schedule A/B: any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Sublect to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
M No
0 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
[] No
[] Yes

Officia| Form 106C Schedule C: The Property You Claim as Exempt page 1 of _

 

ii wm v'/»zi.¢__mwwr».~,~ w»w»~»w-:~

 

 

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Fill in this information to identify your case

Debtor 1 Frank Kattan

 

Flrsl Nzne Lnt Name

Debtor 2

 

(Spou$e. ii iling) First Name Middle Nerne Lsst Name

United States Bankruptcy Court for the: DlSlriCl 0t Nevada

Case number
ill knownl

 

 

 

Offlcia| Form 106D

 

Cl Check if this is an

Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct
infonnation. |f more space is needed, copy the Additiona| Page, fill it out, number the entries, and attach lt to this form. On the top of any

adtitional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

g No. Check this box and submit thls form to the court with your other schedules ¥ou have nothing else to report on this form.

El ves. Fill in all or the information below.

m Llct All secured claims

Column A Column B

amended hling

12/15

Column C

2. List all secured claims. |f a creditor has more than one secured claim. list the creditor separately Am°unt of dam
for each claim. |f more than one creditor has a particular claim, list the other creditors in Part 2.
As much as possible, list the claims in alphabetical order according to the creditor‘s name.

 

Credltor's Name

 

Number Street

 

 

City State Z|P Code

Who owes the debt? Check one.

n Debtor 1 only

Cl Debtor 2 only

0 Debtor 1 and Debtor 2 only

n At least one of the debtors and another

L_.l Check if this claim relates to a
community debt

Date debt was incurred

l_g£i

 

Creditor's Name

 

Number Street

 

 

city state zlP code

Who owes the ddat? Check one.

n Debtor 1 only

n DebtorZ only

n Debtor1 and DebtorZ only

n At least one of the debtors and another

Ei check ir this claim relates to a
commmity debt

Dae debt was incurred

Add the dollar value of your entries in Column A on this page. Write that number here:

Officia| Form 1060

Do not deduct the

Describe the property that secures the clzm: ‘ $ 5

As of the date you file. the claim ls: Check all that apply.

n Contingent

El unliquidated

n Disputed

Nature of llen. Check all that app|y.

n An agreement you made (sudi as mortgage or secured
car loan)

n Statutory lien (such as tax lien mechanic's lien)

Cl Judgment lien from a lawsuit

Cl other (incluoing a right to orrset)

Last 4 dglts of account number _

Describe the property that secures the clalm'. $ $

As of the date you flle, the cldm ls: Check all that app|y.

U Conlingenl

n Unliquidated

n Disputed

Nature of Ilen. Check all that apply.

0 An agreement you made (such as mortgage or secured
car loan)

0 Statutory lien (such as tax |ien. mechanics lien)

0 Judgment lien from a lawsuit

0 Other (including a right to offset)

Last 4 digits of account number __

E_l

Schedule D: Creditors Who Have Claims Secured by Property

Value of collateral Urlsecl.led
that supports this portion
value of collateral claim

lf any

page 1 of _

 

,.., ,,… ,,.r, ~(V.,~.,»`.M`,

 

 

 

 

 

 

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Fill in this information to identify your ease

Debto,, Frank Kattan

First Name M`ddle Name Last Name

 

Debtor 2
(Spouse, if flling) Firai Name M'riailie Name Last Name

 

United States Bankruptcy Court for the: Dl$lrld 0f Nevada

El check irtliis is an

Case number ~ -

 

 

 

 

til itnoiml amended filing
Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims iz/is

 

Be as complete and accurate as possible. Use Part 1 for creditors with PR|ORiTY claims and Part 2 for creditors with NONPR|ORll’Y claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property(official Form 106NB) and on Schedule G.' Executory Contracts and Unexpired Leases (Ofticial Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D.' Creditors Who Have Clalms Secured by Property. lt more space is
needed, copy the Part you need, nil it out, number the entries ln the boxes on the ieft. Attach the Continuation Page to this page. On the top of
any additional pages. write your name and case number (if known).

must All of ¥our PR|ORiTY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
m No. Go to Part 2.
Cl Yes.

2. List all of your priority unsecured claims. lf a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed. identify what type of claim it is. |f a claim has both priority and nonpriority amounts. list that claim here and show both priority and

nonpriority amounts As much as possible, list the claims in alphabetical order according to the creditor’s name. lf you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. lf more than one creditor holds a particular claim. list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
Total dalm Prlority Nonprlorlty

 

 

 

 

~,,”¥,~M_ \r...r-t.,..,,.w~m~»w'~“ ' ‘ > ' '~”-

 

 

 

 

 

 

amount amount
2.1
Last 4 digits of account number __ __ __ _ 5 $ 5
priority Creditofs Name
When was the debt lncurred?
Number Street
As of the date you fl|e, the claim ls: Check all that apply
Clty State ZlP Code n Contingent
m Unliquidated
Who incurred the debi? Check one. m Disputed
m Debtor 1 only
El Debtor 2 only Type of PR|Ole unsecured ciaim:
g Debw' 1 and Debt°r 2 °"'y 0 Domestic support obligations
At bast one of the debtors and ano'her m Taxes and certain other debts you owe the government
0 check " mls clalm b for a commun"y debt m Claims for death or personal injury while you were
ls the claim eubleci to ortset') 'n*°*'¢aied
Cl No Cl otner. specify
m Yes
\2'2 \ Last 4 digits of account number _ __ __” _ s $ s
priority Creditor's Name

 

When was the debt lncurred?

 

 

 

 

Number Street
As of the date you filel the claim ls: Check all that apply
m Contingent

city state zlP corle El unliquidated

Who incurred tile debi? Check one. 0 Dispu'ed

m Debtor1 onl

0 Debtor 2 on|; Type of PR|CR|TY unsecured clalm:

0 Debtor1 and Debtorz only 0 Domestic support obligations

m N |east one of the debtors and another m Taxes and certain other debts you owe the government
n Claims for death or personal injury while you were

Ei check lt llile claim is for a community debt intoxicated

le the claim aubiect to owen Ei omer. specify

Cl No

m Yes

Official Form 106E/F Schedule EIF: Credltors Who Have Unsecured Claims page 1 of __

 

i-~i»r,,ii..im am.,~»ta~mi,

 

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Fill iii this information to identify your case

Debtor Frank Kattan

First Name Middle Nurie Lest Name

 

Debtor 2
(Spou$e ll iiiir\g) Firsi Name Middle Name

 

United States Bankruptcy Court for the: DiSt|’iCi 0f Nevada

Case number

tiritncwtti Cl Check if this is an
amended filing

 

 

 

Officia| Form 1066
Schedule G: Executory Contracts and Unexpired Leases iziis

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information if more space is needed, copy the additional page, fill it out, number the entriesl and attach lt to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired |eases?
m No. Check this box and tile this form with the court with your other schedules You have nothing else to report on this iorm.
n Yes. Fill in all of the information below even ii the contracts or leases are listed on Schedule A/B: Property (Ofi'icial Form 106A/B).

2. List separately each person or company with whom you have the contract or le ase. Then state what each contract or lease ls ior (ior

exampie, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
2.1

Name

Number Street

City State ZlP Code
2.2

Name

 

Number Street

 

City State ZlP Code
2.3

 

Name

 

Nu mber Street

 

City State ZlP Code
2.4

 

Name

 

Number Street

 

City State ZlP Code
2.5

Name

 

 

Number Street

 

city state ziP code

Oti”icial Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 ol __

 

 

 

 

 

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Fll` ill this intorliiat on to identify your case

center 1 Frank

F`ir¢ Neme

Debtor 2
($pou$e. if filing) Firsi Name Mddle Name

 

United States Banknlptcy Court for the: Dlstrict of Nevada

 

Case number
(lr knowhi

 

E] check ir this is an
amended iiling

Officia| Form 106H
Schedule H: Your Codebtors 12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as posslb|e. if two married people
are filing together, both are equally responsible for supplying correct lnformation. lf more space is needed. copy the Additional Page. fill it out,

and number the entries in the boxes on the iett. Attach the Additional Page to this page. On the top of any Addltional Pages, write your name and
case number (if known). Answer every question.

 

1. Do you have any codebtors? (|f you are filing a joint case, do not list either spouse as a codebtor.)

m No
n Yes
2. Wlthin the last 8 yearsl have you lived in a community property state or territory? (Community property states and territories include
Arizona, Ca|ifornia. ldaho. Louisiana, Nevada. New Mexico. Puerto Rico, Texas. Washington. and szconsin.)
il No. Go to line 3.
n ¥es. Did your spouse, former spouse, or legal equivalent live with you at the time'?
n No

Cl ¥es. ln which community state or territory did you live? . Fill in the name and current address of that person

 

Name of your spouse. former spouse or legal equivalent

 

Number Street

 

City State ZlP Code

3. in Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

Schedule D (Officiai Form 1060), Schedule E/F (Oi‘ficial Form 106E/F). or Schedule G (OIficia| Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2.' The creditor to whom you owe the debt

 

 

 

 

 

 

 

 

 

Check all schedules that appiy:

Cl Schedule ol line
Name

Cl schedule E/F, line
Number street Cl Schedule G, line
City State ZlP Code
N Cl Schedule D. line

amd

Cl Schedule E/F. line
Number Street n Schedule G. line
City State ZlP Code

Cl Schedule D, line
Name

L`.l schedule E/F. line
Number street Cl Schedule G, line
City State ZlP Code

Official Form 106H Schedule H: Your Codebtors page 1 of _

 

 

§
§
§

 

 

 

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Fill in this information to identify your case

Debtor 1 Frank
First Name

 

Debtor 2
(SDOUS€, if flling) Flrst Name Mddle Name

 

United States Bankruptcy Court for the; District of Nevada

Case number Check if this ls:
(llltnown)
Cl An amended ming

El A supplement showing postpetition chapter 13
income as of the following date~.

 

 

 

Official Form 106| m
Schedule l: Your income tells

Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2). both are equally responsible for

 

supplying correct lnfonnat|on. if you are married and not filing jolntly, and your spouse ls living with you, include information about your spouse.

if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space ls needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1: Describe Employmont

1. Fill in your employment _
lnfonnat|on. Debtor 1 Debtor 2 or non-filing spouse

lf you have more than one job.
attach a separate page with
information about additional Employment status Cl Employed Cl Employed

employers m Not employed Cl Not employed

include part-time, seasonal, or
self-employed work.

4 . Occupation Retired
O°Cupailon may lndude student

or homemaker. if lt applies
Employer‘s name

 

Employer‘s address

 

Number Street Number Street

 

 

 

City State Z|P Code City State ZlP Code
How long employed there?

Wvo details About Monthly lncomo

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write $0 iri the space. include your non-ming
spouse unless you are separated

lf you or your non~hling spouse have more than one employer, combine the information for all employers for that person on the lines
below. if you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor2 or
non-tilln_g>spouse
2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). lf not paid monthly, calculate what the monthly wage would be. 2. $ 0_00 $
3. Estimate and list monthly overtime pay, 34 +$ 0.00 + $
4. Calculate gross lncome. Add line 2 + line 3. 4. $ 0-00 $

 

 

 

 

 

Official Form 106| Schedule l: Your income page1

 

.it`.<,\_»"..~,~.t,_., nat

 

 

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12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income
Write that amount on the Summary of your Assets and Liabl'lities and Certa/'n Statl'stl'cal Information, if it applies

Debtor 1 Frank Kattan Case number tl/itncwni
First Name Mlddle Name Lnl Name
For Debtor 1 For Debtor 2 or
non-filing spouse
copy line 4 here ............................................................................................... -) 4. $ 0.00 $
5. List all payroll deductions:
5a Tax, Medicare, and Social Security deductions 5a $ 0.00 $
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $
5c. Voluntary contributions for retirement plans 5c. $ 0.00 $
6d. Required repayments of retirement fund loans 5d. $ 0.00 5
5e. insurance 5e. $__M_O_ $
5f. Domestic support obligations 5f. $ 0.00 5
5g. Union dues 5g. 5 O‘OO 5
5h. Other deductions Specify: 5h. +$ 0.00 + $
6. Add the payroll deductions Add lines Sa + 5b + 5c + 5d + 5e +5f + 5g + 5h. 6. $ 0.00 5
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ O-OO $
8. List all other income regularly received:
Ba. Net income from rental property and from operating a business
profession, or farm
Attach a statement for each property and business showing gross
receipts ordinary and necessary business expenses and the total s 200 00 s
monthly net income. Ba. '
8b. interest and dividends 8b. $ 0.00 $
8c. Family support payments that you, a non-filing spouse. or a dependent
regularly receive
include alimony, spousal support, child support, maintenance divorce 2
settlement and property settlement 8c. s ’400`00 s
8d. Unemployment compensation 8d. $ O-OO $
ae. social security 8€. $ 0.00 $
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benetits under the Supplemental
Nutrition Assistance Program) or housing subsidies
Specify: 8f. $ 0.00 $
8g. Pension or retirement income sg. $ 0.00 5
8h. Other monthly |ncome. Specify: 8h. + 5 O_OO + 5
9. Add all other lncome. Add lines 8a + ab + ac + ad + ac + ar +ag + ah 9. s 2,600.00 s
io.Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $M + s 2'600'00 " k 2’600'00
11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner. members of your household your dependents your roommates. and other
friends or relatives
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed irl Schedule J.
Specify: 11. + $ 0.00

12_ g 2,600.00

 

 

 

Combined
morthly income
13. Do you expect an increase or decrease within the year after you tile this form?
No.
n Yes. Explain:
Official Form 106| Schedule l: Your income

page 2

 

 

 

 

 

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Fii| in this information to identify your case

ttan
Debtor 1 F::E.|;° mate N¢me KitName Check if this iS'.

Debi 2 -

(Spou°$;. ifi|lng) FirstName Mdd|e Name Lasi Name m An amended fnan

a A supplement showing postpetition chapter 13
expenses as of the following date:

 

United States Bankruptcy Court for the: District of Nevada

((:"a::°a:;'nber MM / DD/ YYYY

 

 

 

Official Form 106J
Schedule J: Your Expenses

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct

intormatlon. if more space is neededl attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

missed be Your Household

i. is this a joint case‘?

12I15

w No. Go to line 2.
n Yes. Does Debtor 2 live in a separate household?

n No
n Yes. Debtor 2 must file Oflicial Form 106J-2, Expenses for Separaie Househo/d of Debtor 2.

 

 

 

 

 

2. Do you have dependents? m No
Dependent's relationship to Dependent’s Does dependent live
Do not list Debtor1 and n Yes. Fill out this information for D°bl°' 1 °' Debtor 2 age with you?
Debtor 2. each dependent ..........................
Do not state tl'ie dependents g N°
names. Yes
n No
cl Yes
cl No
cl Ves
Ei No
cl Yes
n No
cl Ves
3. Do your expenses include g No

expenses of people other than n
yourself and your dependents? Yes

Estimate Your Ongolng Monthly Exponses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. lf this is a supplemental Schedule J, check the box at the top ot the form and till in the
applicable date.

include expenses paid for with non-cash government assistance it you know the value ot

such assistance and have included lt on Schedule l: Your income (Offlcial Form 106|.) Y°“" expenses

4_ The rental or horne ownership expenses tor your residence. include first mortgage payments and $ v l n '82*5 00

any rent for ti'ie ground or |ot. 4y

if not included in line 4:

4a. Rea| estate taxes 4a $ 0.00
4b. Property, homeowners or renter's insurance 4b. $ 0.00
4c. Home maintenance repalr. and upkeep expenses 4c. $ 0.00
4d. Homeowner`s association or condominium dues 4d, $ 0.00

Ofiicia| Form 106J Schedule J: Your Expenses page 1

 

 

 

 

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Debtor1 Frank Kattan

13.

14.

15.

16.

184

20.

Oflicial Form 106J

Firsl Name Middle Name l.esi Name

. Additional mortgage payments for your residence. such as home equity loans

Utilities:

6a. E|ectricity, heat, natural gas

sn. Water, sewer. garbage collection

6c. Teiephone, cell phone. lnternet, satellite, and cable services

6d. Other. Specify:

 

. Food and housekeeping supplies

Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services

. Medical and dental expenses

. Transportation, include gas, maintenance, bus or train fare.

Do not include car payments
Entertainment, clubs, recreation, newspapers magazines and books
Charitable contributions and religious donations

lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b Health insurance
15c. Vehicle insurance

15c. Other insurance Speclfic

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a. Car payments for Veh'icle 1
17b. Car payments for Vehicle 2
17a. Other. Specify:

 

17d. Other. Specify;

 

Case number (linowni

Vour payments of allmony, malntenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, your Income (Officlal Form 106|).

. other payments you make to support others who do not live with you.

Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Propertyl homeowners or renter's insurance
20¢1v Maintenance, repair. and upkeep expenses

20e. Homeowner’s association or condominium dues

Schedule J: Vour Expenses

6a

6b.

6c_

6d.

15a.
15b
15c.

15d.

17a.
17b.
17c.

17d.

19.

Vour expenses

$

€B€B€B€h€h€h$$$

69me

$€B€H€B

6969$€669

0.00

150.00
50.00

50.00
0.00

200.00
0.00
25,00
0.00
0.00

0.00

0.00
0.00

100.00
0.00

0.00
0.00

0.00

0.00
0.00
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0.00

0.00

0.00

0.00

0.00
0.00

Page 2

 

~'~» ~ti`,.o,i,,»,,im,.,...m.~,.w. i.~»-M~N,»r.-,i.».a....,..m, ` i

 

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Debtor1 Frank Kattan Case number isrkrro~n)

Firlt Name Mlddl Name Lesl Name

21. Other. Specify:

 

22. Ca|culate your monthly expenses
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2). if any, from Official Form 106J~2

22c. Add line 22a and 22b. The result is your monthly expenses

23. Ca|culate your monthly net income.

23a. Copy line 12 ( your combined monthly income) from Schedule l.

23b. Copy your monthly expenses from line 22c above

23c. Subtract your monthly expenses from your monthly income.
The result is your montth net income.

24. Do you expect an increase or decrease in your expenses within the year after you tile this form?

For exampie, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modltication to the terms of your mortgage?

m No.

Cl Yes Explain here:

Official Form 106J Schedule J: Your Expenses

 

21.

22a.

22b.

220.

23a

23b.

23c.

 

 

+$ 0.00
$ 1.400.00
$ 0.00
$ 1,400.00

$ 2.600.00

_$ 1,400.00

$ 1.200.00

 

page 3

 

 

 

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Fill in this information to identify your case

Debtor1 Frank Kattan

Firsl Name Mlddle Neme L|st Name

Debtor 2
(Spouse‘ if rl|lng) Fwst Name Midd|e Name Last Name

 

United States Bankruptcy Court for the: District of Nevada

Case number
(ll knowni

 

 

Ei check if this is an
amended filing

 

Official Form 106Dec

Declaration About an individual Debtor’s Schedules wis

if two married people are H|ing together, bottl are equally responsible for supplying correct information.

You must tile this form whenever you tile bankruptcy schedules or amended schedules Making a false statement, concealing property, or

obtaining money or property by fraud iri connection with a bankruptcy case can result iri fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152,1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy iorms?

DNo

w Yes. Name of person Maggie Smck|and . Attach Bankruptcy Petiiion Prcparcr's Notice, Declaraiion. and

Signalure (Official Form 119).

e summary and schedules died with this declaration and

  
   

Under penalty of per , eclare inFt i have rea
that they are true d c rect.
x z // h

Signature of Debtor 1 Signature of Debtpr{

Date Date
MM/DD/YYYY MM/DD/¥YYV

thcial Form 1OSDec Declaratlon About an individual Debtor’s Schedules

 

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Fill in this information to identify your case

Debtor 1 Frank

Frd Name Ml‘idla Name

 

Debtor 2

(Spouse. ll filing) Fusi Name Mlddi¢ Name

 

United states Bankruptcy Court ior inez District of Nevada

Case number _ l _
iliwown) C] Check if this is an
amended hling

 

 

 

Official Form 107
Statement of Financia| Affairs for individuals Filing for Bankruptcy o4lis

Be as complete and accurate as possible. if two married people are filing togetherl both are equally responsible for supplying correct

infon'nation. if more space is needed, attach a separate sheet to this form. On the top of any additional pages write your name and case
number (if known). Answer every question.

m Give Dotails About Your Marital Status and Where You leed Before

1. What is your current marital status?

cl Married
Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

MNO

n Yes. List all cl the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
n Same as Debtor 1 n Same as Debtor 1
From F"°m
Number Street Number Street
To To
City State ZlP Code City State ZlP Code
a Same as Debtor 1 n Same as Debtor 1
From From
Number Street Number Street
To To
City State ZlP Code City State ZlP Code

3. W'ithln the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Communi'ty property
states and territories include An'zona, Ca|ifornia. idaho, Louisiana. Nevada. New Mexico, Puerto Rico. Texas, Washington, and Wisconsin.)

n No
m Yes. Make sure you fill out Schedule H: Your Codeblors (Oflicia| Form 106H).

Explain the Souroos of Your income
Official Form 107 Statement of Financ|a| Affalrs for individuals Filing for Bankruptcy page 1

 

Case 17-16448-ab|

Frank

First Name

Debtor 1
biddle Name

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Kahan

Llst Name

Case number miami

 

4. D|d you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses including part~time activities
if you are filing a joint case and you have income that you receive together. list it only once under Debtor 1.

n No
il Yes. Fill in the details

From January1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 lo December 31 , 2015 )
vvvv

For the calendar year before that:

(January 1 lo December 31 , 2015 )
vav

Debtor 1

Sources of income
Check all that apply.

n Wages, commissions
bonuses tips

a Opeiatinga business

n Wages, commissions
bonuses tips

n Operatinga business

n Wages, commissions.
bonuses tips

n Operatinga business

Gross income

(before deductions and
exclusions)

s 1,600.00

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless ofwhether that income is iaxable, Examp|es of other income are alimony; child support; Social Secun'ty.
unemployment and other public benefit payments; pensions rental income; interest dividends; money collected from iawsuits: royalties; and
gambling and lottery winnings if you are nling a joint case and you have income that you received iogether, list it only once under Debtor 1.

Debtor 2

Sources of income
Check all that appiy.

n Wages, commissions
bonuses tips

n Operatinga business

n Wages, commissions
bonuses tips

n Opeiatinga business

n Wages, commissions
bonuses tips

n Operatinga business

List each source and the gross income from each source separately. Do not include income ihai you listed in line 4.

n No
a Yes Fill in the details

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31 _2016 )
YYYY

For the calendar year before that:
(January 1 to December 31,2015 )
wYY

Ofncial Form 107

Debtor 1

Sources of income
Describe below.

Gross income from
each source

(before deductions and
exciusions)

Debtor 2

Sources of income
Describe beiow.

 

 

 

children____ $ 19,200.00
children $ 28,800.00
children $ 28,800.00

 

Statement of Flnancial Affairs for individuals Fiiing for Bankruptcy

Gross income

(before deductions and
exclusions)

Gross income from
each source

(before deductions and
exclusions)

page 2

 

 

 

Case 17-16448-ab|

oebicr l Frank

F'ni Name

Mlddie Name

Kattan Case number iirrrrcmri
Lut Name

met Certain Paymonts You Mado Beforo You Fiiod for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

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CI No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts Consumer debts are defined iri 11 U.S.C. § 101(8) as
"incurred by an individual primarily for a personai, family. or household purpose.”

During the 90 days before you filed for bankruptcyl did you pay any creditor a total of $6,425* or more?

n No. Go to line 7.

Cl Yes. List below each creditor to whom you paid a total of $6.425‘ or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations such as

' Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

child support and alimony. Also. do not include payments to an attorney for this bankruptcy case.

m Yes Debtor 1 or Debtor 2 or both have primarily consumer debts

During the 90 days before you filed for bankruptcy. did you pay any creditor a total of $600 or more?

g No. Go to line 7.

n Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations such as child support and
alimony. Also. do not include payments to an attorney for this bankruptcy case.

Omciai Form 107

Creditor`s Name

Dates of Total amount paid Amount you still owe
payment

 

Number

Street

 

 

City

State ZlP Code

 

Creditor's Name

 

Number

Street

 

 

City

State ZlP Code

 

Crediior‘s Name

 

Number

Street

 

 

City

Siaie ZlP Code

Statement of Financlal Affairs for individuals Filing for Bankruptcy

Was this payment for. ..

n Mortgage

n Car

Ci credit card

n Loan repayment

cl Suppliers or vendors
n Other

n Mortgage

n Car

n Credit card

n Loan repayment

n Suppliers or vendors
Cl other

n Mortgage

n Car

Ci Credit card

n Loan repayment

n Suppliers or vendors
Cl other

page 3

 

 

 

Case 17-16448-ab|

Debtor 1 Frank

F`nt Name

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Kattan

Case number (,r know
Mddie Name Laet Name

7. Wlthin 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
lnsiders include your reiatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director. person in contro|, or owner of 20% or more of their voting securities; and any managing

agent. including one for a business you operate as a Soie proprietor. 11 U.S.C. § 101. include payments for domestic support obiigations,
such as child support and aiimony.

MNo

n Yes. List ali payments to an insider.

 

 

 

 

 

 

 

Dates ot Total amount Amount you still Reason tor this payment
payment paid owe
$ $
lnsider‘s Name
Number Street
City State ZlP Code
$ $
insider's Name

 

Number Street

 

 

City

an insider?

State ZlP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

include payments on debts guaranteed or oosigned by an insider.

mNo

n Yes. List all payments that benefited an insider.

 

 

 

 

 

Dates of Total amount Arnount you still Reason for this payment
payment paid °w° include creditor’s name
$ $
insider's Name
N.lmber Street
City State ZlP Code
$ $
lnsider`s Name

 

 

Number Street

 

 

City

Official Form 107

State ZlP Code

Statement of Financia| Aftairs for individuals Filing for Bankruptcy page 4

 

 

---r~»»r~<`~»-wm.,,`,~l»,wet l l.e.,,~( -

 

 

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Debtor 1 Fra nk

Fnt Name MiM|e Name L.ast Nane

Kattan Case number (,rknawnj

month Legal Actlons, Repossesslona, and For¢closures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List ali such matters. including personal injury cases small claims actionsl divorces, collection suits, paternity actions. support or custody modihcalions,

and contract disputes

MNO

[Il ves. Fill in the details

Case title

 

Case number __________

Case title

 

Case number ___________

Nature of the case

 

 

 

 

 

Court or agency Status of the case

Court Name n Pending

[:l On appeal
Number Street n COncluded
City State ZlP Code
Court Name n pending

[:l On appeal
Number Street n COnC|uded

 

City State ZlP Code

10. Within 1 year before you hled for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized. or levied?

Check ali that apply and fiii in the details below.

M No. Go to iine11.
cl Yes. Fill in the information beiow.

 

Creditcr's Name

 

Number Street

 

 

Oty State ZlP Code

 

Crediior's Name

 

Number Street

 

 

City Slale ZlP Code

Official FDrm 107

Describe the property Date

Explain what happened

[:l Property was repossessed.

cl Property was foreclosed

n Property was gamished.

[:l Property was attached seized. or |evied.

Describe the property Date

Explain what happened

n Property was repossessed

n Property was foreclosed

n Property was gamished.

[:l Property was attached seized. or levied

Statement of Financial Affairs for individuals Filing for Bankruptcy

Value of the property

Value of the prome

page 5

 

 

Case 17-16448-ab| DOC 16 Entered 12/14/17 12:07:16 Page 29 of 47

Debtor 1 Frank Kattan

Case number tv town
Frst Name Middle Name Last Name

 

11. \Mth|n 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

UNO

Ci ves. Flll in the detells.

 

 

 

 

 

 

Describe the action the creditor took Date action Arnount
was taken
Creditor's Name
Number Street $
City Sial€ ZlP C°de Last 4 digits of account number: XXXX-_

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another officia|?

m No
m Ves

m List certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

MNo

El ves. Flll ln the details for eadl glft.

Glfts with a total value of more than 5600 Describe the gifts Dates you gave Value
per person the gifts

 

 

 

 

 

 

 

 

$

Person to Whom You Gave the Gift

$
Number Street
City Slale ZlP Code
Person's relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

$
Person to Whom You Gave the Gift

$

 

Number Street

 

City State ZlP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

 

 

 

 

 

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detroit Frank Kattan

Case number trimmi)
Fbt Name Middla Name Last Name

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

mNo

n Yes. Fill in the details for each gift or contribution

 

Glfts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
Charity's Name s
$

 

 

Number Street

 

City State ZlP Code

mist Certain Lossos

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

mNo

El Yes. Fill in the details

Describe the property you lost and Describe any insurance coverage for the loss Date of your

Value of property
how the loss occurred w _ _ _ _ loss lost
include the amount that insurance has paid. List pending insurance
claims on line 33 of Schedule A/B.' Property.
$

L|st Cortain Payments or Transfers

16. Within 1 year before you filed for ban kruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

cl No
ii Yes. Fill in the details

 

 

 

_ Descriptlon and value of any property transferred Date payment or Arnount of payment

Maggie SU'|Ckland transferwas

Person Who Was paid made

720 E charleston Blvd ste 140 Typed and Pfepaied Pef"fi°"

Number street Typed, prepared stamped and mailed Plan #1 08/15/2017 5 300.00
5

Las Vegas NV 89104

City State ZlP Code

 

maggiestrickland@hotmail corn

Emai`l or website address

 

Person Who Made the Paymenl. if Not You

Official Form 107 Statement of Financlal Affairs for individuals Filing for Bankruptcy page 7

 

ex mmi

, ir.¢-e'-r.i,,i,

 

,p_£,.,“,,`,,,;.",,,,m..,.`...,,,‘ w mm ,, -,t

Case 17-16448-ab| Doc 16 Entered 12/14/17 12:07:16 Page 31 of 47

Debtor 1 Frank Kattan

Case number rlrlme»")~
Flat Name M`xtdle Name Last Name

Descriptlon and value of any property transferred Date payment or Arnount of
transfer was made payment

 

Person Who Was Paid

Number Street

 

City State ZlP Code

 

Emeil or webslte address

 

Person Who Made the Payment. if Not Vou

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNo

Ci ves. Fill in the detaiis.

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Pald
Number Street ___ $
$

 

City State ZlP Code

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or othenlvise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.
w No

Cl ves. l=ill in the details

Descrlption and value of property Describe any property or payments received Date transfer
transferred or debts paid ln exchange was made

 

Person Who Received Transfer

 

Number Street

 

 

City State ZlP Code

Person's relationship to you

 

Person Who Reoeived Transfer

 

Number Street

 

 

City State ZlP Code

Person's relationship to you

Ofiicial Form 107 Statement of Financial Affalrs for individuals Filing for Bankruptcy page 8

 

 

 

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usual Frank Kattan '_ '

Case number lin/im
F`nt Name Middie Name Last NIne

19.Wlthin 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary/f (These are often called asset-protection devices,)

ENO

D Yes. Fill in the details

Description and value of the property transferred Date transfer
was made

Name of trust

 

L|st certain Financlal Acceunee, lmtruments, Safe deposit loxes, and Storage Unlts
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your beneflt,
ciosed, soid, moved, or transferred?

include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions.
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

MNo

E] Yes. Fill in the details

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, so|d, moved, closing or transfer
or transferred
Name of Financial institution __F _ _ a check|ng s
Number Street n savings

cl Money market

 

n Brokerage

 

 

 

 

 

city state le code n o'her
xxxx- D checking 5

Name of Financial institution

n Savings
Number street a Money market

n Brokerage

n Other
city state ziP code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

mNo

n Yes. Fill in the detai|s.

 

 

Who else had access to it? Describe the contents Do you still
have lt?
n No
Name of Financial institution Name n Ye$

 

Number Street

 

Nu mher Street

 

 

City State ZlF Code

 

City State ZlP Code

Official Form 107 Statement of Financlal Affalrs for individuals Filing for Bankruptcy page 9

 

 

 

 

,l,`...,.t-.\m¢-m.~,,-l,\,~. l \ ….l. …

cwa i…‘..".

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Debtor l Frank Kattan

Case number irin°~ni_‘i
F`rsi Name Middie Name Last Nane

 

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No

Ci ves. Fill in me delails.

 

 

Who else has or had access to it? Describe the contents Do you still
have lt?
n No
Name of Storage Faciiity Name n ¥es
Number Street Number Street

 

City State ZlP Code

 

City State ZP Code

m ldontlfy Proporty You Hold or control for Somoono Elso

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.

d No
Ci ves. Fill in the details

Where is the property? Describe the property Value

 

Ownei‘s Name s

 

" ` Street

 

Number Street

 

 

 

 

City State ZlF Code
City State ZlF Code

Give befalls About Envlronmontal lnformltlon

For the purpose of Part 10, the following definitions app|y:

\- Environmental law means any federa|, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or materla|.

r Slie means any location, facility, or property as defined under any environmental iaw, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sltes.

’» Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous materia|, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental iaw?

mile

Cl Yes. Fill in the details

 

 

Governmenta| unit Environmental iaw, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street

City State ZiF Code

 

 

City State ZlF Code

Ochia| Form 107 Statement of Financial Affalrs for individuals Filing for Bankruptcy page 10

 

 

 

 

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Deb,o,, Frank Kattan

Case number trind~ni_
F'nt Name Middie Name Last Name

 

25.Have you notified any governmental unit of any release of hazardous material?

MNo

Ei ves. Fill in the details

 

 

 

 

Governmentai unit Environmental law. if you know it Date of notice
Name of site Governmental unit
Number Street Number Street
city state ziP code

 

city state zip code

26.Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

mNo

Ci ves. Fill in the detalis.

 

Court or agency Nature of the case :;;:” of me
Case title
Court Name m Pending
n On appeal

 

 

Number Street n Conciud€d

 

Case number

 

City State ZlP Code

6lve Dotalls About Your luslnoee or Cormoctlone to Any lue|nose

21. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
Cl A sole proprietor or self~employed in a trade, profession, or other activity, either full-time or part-time
Cl A member of a limited liability company (LLC) or limited liability partnership (LLP)
Cl A partner in a partnership
i:i An officer, director, or managing executive of a corporation

n An owner of at least 5% of the voting or equity securities of a corporation

d No. None of the above applies co to Part 12.
Cl Yes. Check all that apply above and fill in the details below for each business.

 

 

 

 

 

 

 

Describe the nature of the business Employer identification number
Do not include Social Security number or iTiN.
Business Name
ElN:____-____________
Number Street
Name of accountant or bookkeeper Dates business existed
From _____ To
city state zlP code
Describe the nature of the business Employer identification number
among mm Do not include Social Security number or iTiN.
EiN:_____-____________
Number Street
Name of accountant or bookkeeper Dates business existed
From To

 

City State ZlP Code

Of|icia| Form 107 Statement of Financial Affalrs for individuals Filing for Bankruptcy page 11

 

.,.'1\.,,,,-,`4,,,,,,.~.…,.......,“, , .

 

 

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Debtor 1 Frank Kattan

Case number llltnoml_
F`lst Name Mlddle Name List Name

 

Describe the nature of the business Emp‘°y'r ldemmcau°n number
Do not include Social Security number or i11N.

 

Busineu Name

 

 

E|N:_______-___________.__
Number Street Name of accountant or bookkeeper Dates business existed
From __ To

 

City State ZlP Code

28. Within 2 years before you hled for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties.

mNo

Cl Yes. Fill in the details below.

Date issued

 

Name MMIDDI¥YVY

 

Number Street

 

 

City State ZlP Code

l have read the answers o Statement of Financ' Affa and any attachments, and | declare under penalty of perjury that the
answers are true and ing af se statement, concealing property, or obtaining money or property by fraud

    
  
 

 

 

v l r
Signature of Debtor 1 f Signature of D}bld(l

Date ~ 4 - Date
Did you attach additional pages to Your Statement of Financlal Alt'alrs for Indlvlduals Filing for Bankruptcy (Official Form 101)?

d No
n Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
0 No

q Yes. Name of person Maggie Smck|and . Attach the Bankruptcy Petitl'on Preparer's Notice.
Declaratlon, and Signature (Offlcia| Form 119).

Official Form 107 Statement of Financial Affairs for individuals Fili ng for Bankruptcy page 12

-<,».-.»w~ ~. c

lt»,..‘W,WMmw.,-,..a."t_.wt~..w.,»,..(.,.,M v

 

 

 

 

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Fill iii this information to identity your case

  
  

Check as directed iii lines 17 and 21

According to the calculations required by

nestor 1 Frank Kattan this statement

Firsl Name Mdo|e Name Llet Name

§
ii
t
§
§
t
t
§
'§

Debtor 2
(Spouse. ii filing) Fim Name Mtdtiie Name Last Name

United States Bankruptcy Court lor the: District of _Nevada l :|

Case number
ill known)

[Z 1. Disposable income is not determined
under 11 U.S.C. § 1325(b)(3).

m 2. Disposable income is determined
under 11 U.S.C. § 1325(b)(3).

 

 

 

m 3. The commitment period is 3 years.
m 4. The commitment period is 5 years.

 

 

 

DCheck if this is an amended filing

~,...,.\.,_w`,,..,,.,,.,.~.Mi..»”.,,, … »_ ., .` nw

thcia| Form 122C-1
Chapter 13 Statement of Your Current Monthiy income
and Ca|culation of Commitment Period 12/15

 

p…~,-,s` .._,,., v `,

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. if
more space is needed. attach a separate sheet to this form. include the line number to which the additional information applies. On the
top of any additional pagos, write your name and case number (if known).

mcaicuiate Your Average ililonthiy income

1. What is your marital and filing status? Check one only.
Not married. Fill out Column A. lines 2-11.

m Married. Fill out both Columns A and B. lines 2-11.

Fill in the average monthly income that you received from ali souroes, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101 (10A). For example, if you are filing on September 15. the 6-month period would be March 1 through
Augusi 31. if the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
from that property in one column only. if you have nothing to report for any line. write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, saiary, tips, bonuses, overtime, and commissions (before ali 0 00
payroll deductions). $____'_

3, Aiimony and maintenance payments. Do not include payments from a spouse. $.__MQ

4, Aii amounts from any source which are regularly paid for household expenses of
you or your dopendents, including child support include regular contributions from §
an unmarried partner, members of your household. your dependents parenis. and j
roommates. Do not include payments from a spouse. Do not include payments you '
listed on line 3. $ 0.00 $

5. Net income from operating a business, profession, or

f Debtor 1 Debtor 2
arm

 

i00.0
Gross receipts (before all deductions) $__0 $_-
Ordinary and necessary operating expenses - $ _ $
Net monthly income from a business, profession. or farm $100.00 s :::;y_) $ 200.00 $
6_ Net income from rental and other real property Debtor 1 Debtor 2
Gross receipts (before ali deductions) $ $
Ordinary and necessary operating expenses _ $ _ 3
Net monthly income from rental or other real property $ 0.00 3 :::y.) $ 0.00 $

Ofncia| Form 1220-1 Chapter 13 Statement of Your Current Monthiy income and Caicuiation of Commitment Period page 1

 

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Debtor1 Frank Kattan Case number tin/wm '
F¢rst Name Midd|e Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
7. lnterest, dividends, and royalties $____(_)'0_0 $
B. Unemployment compensation $_____9‘0_0 $

Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. lnstead, list it here: .......................................

For you ................................................................................... $

For your spouse ................................................................... $

9. Pension or retirement income. Do not include any amount received that was a 0 00
benefit under the Social Security Act. $_____'_ $

10, income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism. lf necessary, list other sources on a separate page and put the

 

 

 

total below.
Children $_Z,M $
$ 0.00 $
Total amounts from separate pages, if any, -i- s 0.00 + 5
11. Ca|culate your total average monthly income. Add lines 2 through 10 for each _
column. Then add the total for Column A to the total for Column B. $ 2'600-00 + $ _ 5 2.600.0

 

 

 

Totel average
monthly income

metermine How to lilleasure Your Deductions from income

12. Copy your total average monthly income from line 11. ......................................................................................................................

$ 2,600.00
13. Ca|culate the marital adjustment Check one:

E You are not married. Fill in 0 below.

n You are married and your spouse is filing with you. Fill in 0 below.

n You are married and your spouse is not filing with you,

Fill in the amount of the income listed in line 11. Column B, that was NOT regularly paid for the household expenses of
you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than
you or your dependents

Below, specify the basis for excluding this income and the amount of income devoted to each purpose. lf necessary,
list additional adjustments on a separate page.

|f this adjustment does not apply, enter 0 below.

 

Total ................................................................................................................................... $ O-OO copy dm _) _- 0.00

14. Your current monthly income. Subtract the total in line 13 from line 12. $ 2,600.00

15. Ca|culate your current monthly income for the year. Follow these steps:

15a Copy line 14 here -) ........................................................... . ...................................................................................................................... $ ~M
Multiply line 15a by 12 (the number of months in a year). x 12

15b. The result is your current monthly income for the year for this part of the form. ..................................................................... $_Z_BMO

Official Form 1220-1 Chapter 13 Statement of Your Current Monthly income and Ca|culation of Commitment Perlod page 2

 

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Debtor 1 Frank Kattan

Case number irinc~,.,
First Name Middle Name Lest Name

16. Ca|culate the median family income that applies to you. Follow these steps:

rea Fill in the state in which you live_ "V
1
16c. Fill in the number of people in your household.
16c. Fill in the median family income for your state and size Of household. .............................................................................................. s 481449'00

To lind a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available al the bankruptcy clerk‘s ofnce.

17. How do the lines compare?

17a. Line 15b is less than or equal to line 16c. On the top of page 1 of this tonn, check box 1, Disposable income is not determined under
11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable lncome (Official Form 1220-2).

17b. m Line 15b is more than line 16c, On the top of page 1 of this form, check box 2. Disposable income is determined under
11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Ca|culation of ¥our Disposab|e income (Off'lcia| Form 1226-2).
On line 39 of that form, copy your current monthly income from line 14 above.

mcalcuiate Vour Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11.

 

 

........................................................................................................................ s 2,600.00
19. Deduct the marital adjustment if it applies. if you are married your spouse is not filing with you, and you contend that

calculating the commitment period under 11 U. S C. § 1325(b)(4) allows you to deduct part of your spouse' s income, copy

the amount from line 13

iga. if the marital adjustment does not apply, till in 0 on line 19a. ................................................................................................ s 0 00

las subtract line tea from line ia. s 2,600.00
20. Ca|culate your current monthly income for the year. Follow these steps:

20a. Copy line 19b ......................................................................................................................................................................................... s 2 600 00

Multiply by 12 (the number of months in a year). x 12
20b. The result is your current monthly income for the year for this part of the form. 5 28,800_00
20c. Copy the median family income for your state and size of household from line 16c. ................................................................... 48 449 00
$ ' `

 

 

 

21. How do the lines compare?

g Line 20b is less than line 200. Un|ess otherwise ordered by the court, on the top of page 1 of this form, check box 3,
The commitmentperiod rs 3 years Go lo Part 4.

m Line 20b is more than or equal to line Oc. Unless otherwise ordered by the court, on the top of page 1 of this form
check box 4 The co period is 5 y rs. Go to Pag,¢i./

mass /_é

    

75

By Signlue'nere /u'l?_!=' v:W statement ann -- J\/ mfrs-m true/and correct

 

Signature of Debtor 1 Signature 01 Debtor 2

Date 08/29/2017 Date
MM/DD lVYYY MM/ DD )YYYY

if you checked 17a. do NOT fill out or tile Form 122C-2.
if you checked 17bl till out Form 1220»2 and file it with this form. On line 39 of that form. copy your current monthly income from line 14 above.

Official Form 1220-1 Chapter 13 Statement of your Current Monthly income and Calculation of Commitment Period page 3

 

 

 

Case 17-16448-ab| DOC 16 Entered 12/14/17 12:07:16 Page 39 of 47

Fill in this information to identify yoiir case

Debtor1 Frank Kattan

First Name Niddle Name Last Name

Debtor 2
(SpOUSe. ii ming) Firsthne Middie Name Lesl Narre

 

United States Bankruptcy Court for the: District of Nevada | :l

Case number
(if known)

 

 

m Check if this is an amended filing

 

Official Form 1220-2
Chapter 13 Caiculation of Your Disposable income ours

To fill out this fonn, you will need your completed copy of Chapter 13 Statement of your Current Monthly Inoome and Cak:uiatlon of
Commltment Perl‘od (Officlal Form 1220-1).

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. if
more space is needed, attach a separate sheet to this form. include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).

Ca|culate your Deductlons from your income

The lntemai Revenue Serv|ce (lRS) issues National and Local Standards for certain expense amounts. t.lse these amounts
to answer the questions in lines 6-15. To find the lRS standards, go online using the link specified in the separate
instructions for this fonn. This information may also be available at the bankruptcy clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. in later parts of the form, you will use
some of your actual expenses if they are higher than the standardsl Do not include any operating expenses that you
subtracted from income in lines 5 and 6 of Form 1220-1, and do not deduct any amounts that you subtracted from your
spouse's income in line 13 of Form1220-1.

if your expenses differ from month to month. enter the average expense.

Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

5, The number of people used in determining your deductions from income

Fill in the number of people who could be claimed as exemptions on your federal income tax
return, plus the number of any additional dependents whom you support This number may

be different from the number of people in your household 1 -00
National . . . .
standards You must use the lRS National Standards to answer the questions in lines 6-7.

6. Food, clothing. and other ltems: Using the number of people you entered in line 5 and the lRS National 585
Standards. fill in the dollar amount for food, clothing, and other items. $

7. Out-of-pocket health care allowance: Uslng the number of people you entered in line 5 and the lRS National
Standards, lili in the dollar amount for out-of-pocket health care. The number of people is split into two
categories-people who are under 65 and people who are 65 or older-because older people have a higher lRS
allowance for health care cosis. lf your actual expenses are higher than this lRS amount, you may deduct the
additional amount on line 22.

Official Form 122C-2 Chapter 13 Calculation of Your Disposable income page 1

 

 

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Debtor 1 Frank Katta n Case number iii omni '

First Name Middie Name Laxt Name

 

Peop|e who are under 65 years of age

7a Out-of-pocket health care allowance per person $

7b, Number of people who are under 65 X
C

1¢. subiotai. Muiiipiy ime 7a by ime 7b. s °p’ $
here

Peop|e who are 65 years of age or older

7d. Out-of-pocket health care allowance per person $ 120.00

7e. Number of people who are 65 or older X 1
Copy

vf. subioiai. Muiupiy iine 7a by iine 7e. s 120-00 he,,.) + $ 120-00

7g. Total. Add lines 7c and 7f ...................................................................................................... $ 120-00 copy here') ....... $ 120~00

Local . . .
standards You must use the lRS Local Standards to answer the questions in lines 8-15.

Based on information from the |RS, the U.S. Trustee Program has divided the lRS Local Standard for housing for
bankruptcy purposes into two parts:

l Housing and utilities - insurance and operating expenses
l Housing and utilities - Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
specified in the separate instructions for this form. This chart may also be available at the bankruptcy cierk’s office.

8_ Housing and utilities - insurance and operating expenses: Using the number of people you entered in line 5, fill 1 730 00
in the dollar amount listed for your county for insurance and operating expenses. s ’ '

9. Housing and utilities - Mortgage or rent expenses:

Qa. Using the number of people you entered in line 5, till in the dollar amount 0 00
listed for your county for mortgage or rent expenses s `

Qb. Total average monthly payment for all mortgages and other debts secured by
your home.

To calo.i|ate the total average monthly payment, add all amounts that are
contractually due to each secured creditor in the 60 months after you file
for bankruptcy, Next divide by 60.

 

 

 

Name of the creditor Average monthly
payment
$
$
+ $
C°Py Repeat this amount
Qb. Total average monthly payment $ O_OO h.n_) - $ 0.00 on Hne 333_

9c. Net mortgage or rent expense.

Subtract line 9b (total average monthly payment) from line 9a (mortgage or $ Q QQ copy hen-) _______ $ 0 00
rent expense). if this number is less than $0. enter $0. __`

10. if you claim that the U.S. Trustee Program’s division of the lRS Local Standard for housing is incorrect and affects s 0 00
the calculation of your monthly expenses, fill in any additional amount you claim. _`
Explain
whyi

 

 

Official Form 122C-2 Chapter 13 Ca|culation of Vour Disposable hcome page 2

 

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Debtor 1 Frank Kattan

Case number inim¢mii 7 . . .. .
First Name Midde Name L“¢ Nm.

11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense

lZl 0. co to line 14.
1.Goto|ine 12.
m 2 or more. Go to line 12.

12. Vehicle operation expense: Using the lRS Local Standards and the number of vehicles for which you claim the operating

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

expenses, ml in the Operating Costs that apply for your Census region or metropolitan statistical area. $ 0.00
13. Vehicle ownership or lease expanse: using the lRS Local Standards. calculate the net ownership or lease expense for
each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. ln
addition. you may not claim the expense for more than two vehicles
Vehicle 1 Describe Vehicle 1:
13a. Ownership or leasing costs using lRS Local Standard ....................................... $ 0-00
13b. Average monthly payment for all debts secured by Vehicle 1.
Do not include costs for leased vehicles.
To calculate the average monthly payment here and on line 13e.
add all amounts that are contractually due to each secured
creditor in the 60 months after you me for bankruptcy, Then divide
by 60.
Name of each creditor for Vehicle 1 Average monthly
payment
$
+ s
copy R rmi nt
Total average monthly payment $ 0_00 h.n_) - $ O-OO 0:‘|::: 33:_ am°“
13c. Net Vehicle 1 ownership or lease expense 0 00 copy net vehicle 0
Subtract line 13b from line 13a. if this number is less than $0, enter $0. ............ $___' 1 expense here') $ 0' 0
Vehicle 2 Descitbe Vehicle 2:
13d Ownership or leasing costs using lRS Local Standard ................................... $
13e. Average monthly payment for all debts secured by Vehicle 2.
Do not include costs for leased vehicles
Name of each creditor for Vehicle 2 Average monthly
payment
$ 0.00
+ s
Copy Repeat this amount
Total average monthly payment $ here_) - $ on line 33€_
1 ry - l 2 e ' l e Copy net Vehicle
3 Net Vehice own rship or ease exp nse_ $ 0_00 2 emma here $ 0'00
Subtract line 13e from 13d ii this number is less than $0. enter $0 .................... ---_ _)
14. Public transportation expense: if you claimed 0 vehicles in line 11, using the lRS Local Standards, till in the Public 0 00
Transportation expense allowance regardless of whether you use public transportation 5-__ '
15_ Additional public transportation expense: if you claimed 1 or more vehicles in line 11 and if you claim that you may also
deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim 0 00
more than the lRS Local Standard for Public Transportation. $____ '

Official Form 1220-2 Chapter 13 Ca|culation of Your Disposable income

page 3

 

 

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Debtor 1 Frank Kattan Case number ininaw»i
First Name Mrddie Nzne Last Name
Other Necessary in addition to the expense deductions listed above, you are allowed your monthly expenses for the
Expenses following lRS categories
16. Taxes: The total monthly amount that you actually payfor federal state and local taxes. such as income taxes,

17.

19.

20.

21.

22.

23.

24.

seif»emp|oyment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld
from your pay for these taxes However, if you expect to receive a tax refund, you must divide the expected
refund by 12 and subtract that number from the total monthly amount that is withheld to pay for taxes.

Do not include real estate, sales, or use taxes.

involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions
union dues, and uniform costs

Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings

. Life insurance: The total monthly premiums that you payfor your own term life insurance If two married people are hilng

together, include payments that you make for your spouse's term life insurance.

Do not include premiums for lite insurance on your dependents, for a non~filing spouse's life insurance. or for any form of
life insurance other than term.

Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
agency, such as spousal or child support payments.

Do not include payments on past due obligations for spousal or child support You will list these obligations in line 35.

Education: The total monthly amount that you pay for education that is either required:
l as a condition for yourjob, or

l for your physically or mentally challenged dependent child if no public education is available for similar services.

Childcare: The total monthly amount that you pay for chi|dcare, such as babysitting, daycare. nursery, and preschoo|.
Do not include payments for any elementary or secondary school education.

Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
savings account include only the amount that is more than the total entered in line 7.

Payments for health insurance or health savings accounts should be listed only in line 25.

Optionat telephones and telephone services: The total monthly amount that you pay for telecommunication services
for you and your dependents, such as pagers, call waiting, caller identificationl special long distance, or business cell
phone service. to the extent necessary for your health and welfare or that of your dependents or for the production of
income. if it is not reimbursed by your employer

Do not include payments for basic home telephone. intemet or cell phone service. Do not include self-employment
expenses, such as those reported on line 5 of Form 1220-1, or any amount vou previously deducted

Add ali of the expenses allowed under the lRS expense ailowances.
Add lines 6 through 23.

Additional Expense These are additional deductions allowed by the Means Test.

Deductions

25.

26.

2

`y

Note: Do not include any expense allowances listed in lines 6-24.

Health insurancel disability insurance, and health savings account expenses. The monthly expenses for health
insurance. disability insurance. and health savings accounts that are reasonably necessary for yourse|f, your spouse, or
your dependents

Health insurance $
Disability insurance $

Health savings account + $

Total $___.____D.D.Q Copy total here') ....................................................................

Do you actually spend this total amount'?
m No. How much do you actually spend'?

m Yes $'___

Contlnuing contributions to the care of household or family members. The actual monthly expenses that you will
continue to pay for the reasonable and necessary care and support of an elder|y, chronically illl or disabled member of
your household or member of your immediate family who is unable to pay for such expenses These expenses may
include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of

you and your family under the Family Violence Prevention and Services Act or other federal laws that app|y.
By law. the court must keep the nature of these expenses confidential

Official Form 1220-2 Chapter 13 Calculation of Vour Disposable income

 

$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
+ $ 0.00
$ 2,435.00
$ 0.00
$ 0.00
$ 0.00

page 4

 

 

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oemor 1 Frank Kattan

28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.

30.

31.

32,

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Case number tamm
F\rst Name Middfe Name Lul Name

 

if you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8.

then fill in the excess amount of home energy costs.

You must give your case trustee documentation of your actual expenses, and you must show that the additional amount

claimed is reasonable and necessary.

. Education expenses for dependent children who are younger than 18. The monthly expenses (not more

than $160.42' per child) that you pay for your dependent children who are younger than 18 years old to attend a
private or public elementary or secondary schooi.

You must give your case trustee documentation of your actual expenses. and you must explain why the amount
claimed is reasonable and necessary and not already accounted for in lines 6-23.

' Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment

Additional food and clothing expense. T`ne monthly amount by which your actual food and clothing expenses are
higher than the combined food and clothing allowances in the lRS National Standards That amount cannot be more
than 5% of the food and clothing allowances in the lRS National Standards

To find a chart showing the maximum additional allowance, go online using the link specified in the separate
instructions for this fon'n. This chart may also be available at the bankruptcy cierk’s office

You must show that the additional amount claimed is reasonable and necessary.

Continuing charitable contributions The amount that you will continue to contribute in the form of cash or financial
instruments lo a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).

Do not include any amount more than 15% of your gross monthly income.

Add all of the additional expense deductions
Add lines 25 through 31.

Deductlons for Debt Payment

33.

+ $
Yes
33e. Total average monthly payment Add lines 33a through 33d. ......................................... 5 0-00 ::g;m'
Official Form 1220-2 Chapter 13 Calculation of Your D|sposab|e income

For debts that are secured by an interest in property that you own, including home mortgagesl vehicle
ioane. and other secured debt, fill in lines 333 through 33e.

To calculate the total average monthly payment, add ali amounts that are contractually due
to each secured creditor in the 60 months after you file for bankruptcy. Then divide by 60.

Average monthly

payment
Mortgages on your home
ass copy line 9b here ................................................................................................... -) $ 0-00
Loans on your first two vehicles
33b. Copy line 13b here. ............................................................................................... 9 5 0-00
33¢:. Copy line 13e here. ............................................................................................... 9 5 0'00
33d. List other secured debts:
Name of each creditor for other identify property that Does
secured debt secures the debt payment
include taxes
or insurence?
n No s

Yes

UNo s

m Yes

ENo

 

 

 

 

 

 

 

5 0.00

s 0.00

5 0.00

+ 5 0.00
5 0.00
5 0.00

page 5

 

 

 

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Debtor1 Frank Kattan

Case number (irinowni ‘
Fint Name Midde Name Last Name

34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary
for your support or the support of your dependents?

No. Go to line 35.

m Yes. State any amount that you must pay to a creditorl in addition to the payments listed in line 33, to keep
possession of your property (caiied the cure amount). Next, divide by 60 and fill in the information below.

 

 

 

 

 

 

 

 

 

 

 

Name of the creditor identify property that Total cure Monthiy cure amount
secures the debt mount
$ - 60 = $
$ - 60 = $
$ + 60 = + $
Copy
Total $ wm $
here+
35. Do you owe any priority claims_such as a priority tax, child support, or alimony-that are past due as of
the filing date of your bankruptcy case? 11 U.S.C. § 507v
IZ No_ Gotoline 36.
m Yesv Fill in the total amount of ali of these priority claims. Do not include current or
ongoing priority claims, such as those you listed in line 19_
Total amount of all past-due priority claims_ .................................................................... $ + 60 $
36. Projected monthly Chapter 13 plan payment 5 100.00
Current multiplier for your district as stated on the list issued by the Administrative
Office of the United States Courts (for districts in Alabama and North Carolina) or by
the Executive Office for United States Trustees (for all other districfs). 36
To find a ist of district multipliers that includes your district, go online using the link x __"
specified in the separate instructions for this form. This list may also be available at the
bankruptcy cierk's office.
C°Py
Average monthly administrative expense $ 3,600.00 total $ 3,600.00
here“)
37. Add all of the deductions for debt payment. Add lines 33e through 36. s O_O
Total Deductlons from income
38_ Add all of the allowed deductions
Copy line 24, All of the expenses allowed under lRS expense allowances ................................... $ 2,435-00
Copy line 32. Ai/ orrhe addiriona/ expense deductions ...................................................................... $ O-OO
Copy line 37. All of the deductions for debt payment ...................................................................... + $ O~OO
C°py
Total deductions ....................................................................................................................................... $ 2,435.00 total $ 1435-mi
here -)
thcial Form 1220-2 Chapter 13 Calculation of your Disposabie income page 6

 

 

 

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Case 17-16448-ab| DOC 16 Entered 12/14/17 12:07:16 Page 45 of 47

Debtor 1 Frank Kattan Case number iii known

Flsi Name Myddle Name Last Name

mbetermine Your Disposable lncome Under 11 U.S.C. § 1325(b)(2)

39. Copy your total current monthly income from line 14 of Form 1226-1, Chapter 13 $ 2 600_00
Statement of Your Current Monthly Inoome and Calculation of Commltment Feriod. .................................................................. __'_'

 

40. Fill in any reasonably necessary income you receive for support for dependent
chlidren. The monthly average of any child support paymentsl foster care paymentsl or
disability payments for a dependent child, reported in Part l of Form 1220-1, that you $ O-OO
received in accordance with applicable nonbankruptcy law to the extent reasonably
necessary to be expended for such child.

41. Fill in all qualified retirement deductions The monthly total of all amounts that your
employer withheld from wages as contributions for qualified retirement pians, as
speoihed in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement
plans, as specified in 11 U.S.C. § 362(b)(19).

s 0.00

42. Total or all deductions allowed under 11 u.s.c. § 707(b)(2th)_ copy line 38 here .4,,-) $MO

43. Deduction for special circumstances if special circumstances justify additional
expenses and you have no reasonable aiternative, describe the special circumstances
and their expenses Vou must give your case trustee a detailed explanation of the
special circumstances and documentation for the expenses

 

 

 

 

 

 

 

Describe the special circumstances Arnount of expense

$

$

+ $

Copy here
Total $
O. 0 .
44. Total adjustments.Add lines 40 through 43 ..................................................................................... ' $-'__-_O copy horo') - $ 0 00
45. Ca|culate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39. $ O'OO
Fart 3: Change ln lncol'ne or Expenses

 

46. Change in income or expenses if the income in Form 1220-1 or the expenses you reported in this form have changed
or are virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be
open, fill in the information below. For example, if the wages reported increased after you nled your petition. check
122C-1 in the first column. enter line 2 in the second columnl explain why the wages increased, iill in when the increase
occurred, and nil in the amount of the increase.

 

 

 

 

Form Line Reason for change Date of change increase or Arnount of change
decrease?
§ 122C-1 m increase $
122C-2 Decrease
§ 122C-1 mincrease $
1220-2 Dedease
g 122C-1 increase $
122C-2 Decrease
E122C-1 increase s
122C-2 Decrease

Official Form 122C-2 Chapter 13 Calculation of Your Disposabie income page 7

 

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'§/»t.t.m~ `.

CaS€ 17-16448-ab| DOC 16 Entel’ed 12/14/17 12:07:16 Page 46 Of 47

oebmi Frank Kattan

Case number minmi
F"Sl Name Mldd! Name Laxi Name

By VLF:,-..;__' "

X _

     
 

.. ...... tamm Ur lS State b in any annum/crum .., \.'Ll\

t

g ,

 

 

. 1
Signature of Debtor 1 Signature of Debtor 2 /
Date 08/29/2017 Date

MM/ DD /YYYY

MM/ DD /YYVY

Official Form 1220-2 Chapter 13 Calculation of Your Dieposab|e income

page 8

 

 

 

Case 17-16448-ab| DOC 16 Entered 12/14/17 12:07:16 Page 47 of 47

32800 (Form 2800) (12/15)

United States Bankrupt our
District of d

/jn/?// // 1//¢52 /7‘ /W§/l/
/ Debtor Chapter , , j

DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
[Must be filed with the petition if a bankruptcy petition preparer prepares the petition. 11 U.S.C. § 1 1 0(h)(2).]

l. Under ll U.S.C. § 110(h), l declare under penalty of perjury that l am not an attorney or employee of an
attomey, that l prepared or caused to be prepared one or more documents for filing by the above-named
debtor(s) in connection with this bankruptcy case, and that compensation paid to me within one year before
the filing of the bankruptcy petition, or agreed to be paid to me, for services rendered On behalf of the
debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For document preparation services l have agreed to accept ............................... $ /S 0
Prior to the filing of this statement l have received ............................................. $ / 5 0
Balance Due ......................................................................................................... $ U-
2, I have prepared or caused to be prepared the following documents (itemize):

and provided the following services (itemize)'.

3. 'lylsource of the compensation paid to me was:
Debtor Other (specify)
4. The source of compensation to be paid to me is:
Debtor Other (specify)
5. The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation

of the petition filed by the debtor(s) in this bankruptcy case.

  

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' v Social Security number of bankruptcy §ate '
Lj fill le li ,Q'[ n d petition preparer*
frinied name and title, if any: of v Addressw n

Bankruptcy Petition Preparer

* If the bankruptcy petition preparer is not an individual, state the Social Security number of the officer, principal,
responsible person or partner of the bankruptcy petition preparer. (Required by ll U.S.C. § l lO).

A bankruptcy petition preparer's failure to comply with the provisions of title ll and the Federal Rules of
Bankruptcy Procedure may result infines or imprisonment or both. ll U.S.C. § 110,' 18 U.S.C. § 156.

 

 

